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 8
                                 UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           )        Case No. 2:12-cr-00118 TLN
                                         )        STIPULATION REGARDING EXCLUDABLE
13                           Plaintiff, )         TIME PERIODS UNDER SPEEDY
                                         )        TRIAL ACT; FINDINGS AND ORDER
14                     v.                )
                                         )
15   KHADZHIMURAD BABATOV,               )
                                         )
16                           Defendant. )
                                         )
17   ___________________________________ )

18          Plaintiff United States of America, by and through its counsel of

19   record, and defendant, by and through his counsel of record, hereby stipulate

20   as follows:

21          1.           By previous order, this matter was set for status on

22   December 5, 2013.

23          2.           By this stipulation, defendant now moves to continue the

24   status conference until January 30, 2014, at 9:30 am in Courtroom 2 and to

25   exclude time between December 5, 2013 and January 30, 2014 under Local Code

26   T4.   Plaintiff does not oppose this request.

27          3.           The parties agree and stipulate, and request that the Court

28   find the following:



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 1         a.          The government has represented that the discovery

 2   associated with this case and the United States v. Chartaev case, which was

 3   found to be related to this case, includes over 4,000 pages.   All of this

 4   discovery has been either produced directly to counsel and/or made available

 5   for inspection and copying.

 6         b.          Counsel for defendant desires additional time to consult

 7   with his client, to review the current charges, to conduct investigation and

 8   research related to the charges, and to discuss potential resolutions with

 9   his client.

10         c.          Counsel for defendant believes that failure to grant the

11   above-requested continuance would deny him the reasonable time necessary for

12   effective preparation, taking into account the exercise of due diligence.

13         d.          The government does not object to the continuance.

14         e.          Based on the above-stated findings, the ends of justice

15   served by continuing the case as requested outweigh the interest of the

16   public and the defendant in a trial within the original date prescribed by

17   the Speedy Trial Act.

18         f.          For the purpose of computing time under the Speedy Trial

19   Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time

20   period of December 5, 2013 to January 30, 2014, inclusive, is deemed

21   excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) and Local Code T4

22   because it results from a continuance granted by the Court at defendant’s

23   request on the basis of the Court's finding that the ends of justice served

24   by taking such action outweigh the best interest of the public and the

25   defendant in a speedy trial.

26         4.          Nothing in this stipulation and order shall preclude a

27   finding that other provisions of the Speedy Trial Act dictate that additional

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 1   time periods are excludable from the period within which a trial must

 2   commence.

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 4   IT IS SO STIPULATED.

 5   Dated: December 3, 2013                  /s/ Lee Bickely
                                               LEE BICKLEY
 6                                             Assistant U.S. Attorney

 7
     Dated: December 3, 2013                /s/ John R. Duree, Jr.
 8                                             JOHN R. DUREE, JR.
                                               Attorney for KHADZIMURAD BABATOV
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12                                     O R D E R

13         IT IS SO FOUND AND ORDERED this 3rd day of December, 2013.

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                                              Troy L. Nunley
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                                              United States District Judge
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